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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                      BEAUMONT DIVISION


 UNITED STATES OF AMERICA                           §
                                                    §
 V.                                                 §           NO. 1:10-CR-70(1)
                                                    §
 ROGELIO DOMINGUEZ PINEDA                           §


        ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT


        The court heretofore ordered that this matter be referred to the Honorable Earl. S. Hines,

 United States magistrate judge, for consideration pursuant to applicable laws and orders of this court.

 The court has received and considered the report of the United States magistrate judge, who

 recommends that the court deny the United States’ motion to disqualify counsel James Tucker

 Graves to the extent it is based on an alleged conflict of interest arising from prior representation of

 other defendants, but grant it to the extent that it is based on a conflict of interest arising from

 counsel’s status as a potential witness whose testimony is adverse to his client and lead defendant,

 Rogelio Dominguez Pineda. No objections have been filed.

        The magistrate judge’s report is hereby ADOPTED, and the United States’ “Motion to

 Disqualify Counsel” [Docket No. 479] is GRANTED.


             So ORDERED and SIGNED this 5 day of January, 2011.




                                                             ___________________________________
                                                             Ron Clark, United States District Judge
